          Case 4:11-cr-40037-SOH                       Document 1318  Filed 04/17/14                          Page 1 of 7 PageID #:
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OAO 245D        (Rev. 12/03) Judgment in a Criminal Case for Revocations
                Sheet 1



                                         UNITED STATES DISTRICT COURT
                        WESTERN                                       District of                             ARKANSAS
         UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                V.                                           (For Revocation of Probation or Supervised Release)
                   THOMAS LEAKS
                   a/k/a “Tom Tom”                                           Case Number:         4:11CR40037-43
                                                                             USM Number:          10702-010
                                                                             Charles Randall Chadwick
                                                                             Defendant’s Attorney
THE DEFENDANT:
X plead guilty to violation of condition(s) of the term of supervision.
G was found in violation of condition(s)                                                  after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                     Nature of Violation                                                           Violation Ended
Standard Condition #7                Use of a Controlled Substance                                                 2/12/2014
Special Condition #2                 Failure to complete Residential Treatment                                     2/5/2014




        The defendant is sentenced as provided in pages 2 through        7      of this judgment. The sentence is imposed by
referring to the U.S. Sentencing Guidelines as only advisory within the statutory range for offense(s).
G The defendant has not violated condition(s)                                         and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Defendant’s Soc. Sec. No.:     ***/**/0355                                   April 14, 2014
                                                                             Date of Imposition of Judgment
Defendant’s Date of Birth:     **/**/1989

                                                                             /S/ Susan O. Hickey
                                                                             Signature of Judge
Defendant’s Residence Address:

**********
Texarkana, AR 71854                                                          Honorable Susan O. Hickey, United States District Judge
                                                                             Name and Title of Judge


                                                                             April 17, 2014
                                                                             Date
Defendant’s Mailing Address:

Same as above
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        Case
          Sheet4:11-cr-40037-SOH
                2— Imprisonment            Document 1318  Filed 04/17/14 Page 2 of 7 PageID #:
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DEFENDANT:                    THOMAS LEAKS
CASE NUMBER:                  4:11CR40037-43

                                                              IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
total term of :    Six (6) months with credit for time served in federal custody




    G The court makes the following recommendations to the Bureau of Prisons:




    X The defendant is remanded to the custody of the United States Marshal.

          The defendant shall surrender to the United States Marshal for this district:

          G at                                     G a.m.         G p.m.       on                                      .
               as notified by the United States Marshal.

    G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G before 2 p.m. on                                               .

          G as notified by the United States Marshal.
          G as notified by the Probation or Pretrial Services Office.

                                                                       RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                         to

a                                                     with a certified copy of this judgment.




                                                                                                   UNITED STATES MARSHAL


                                                                           By
                                                                                                DEPUTY UNITED STATES MARSHAL
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             Sheet 3 — Supervised Release                             4429
                                                                                                        Judgment—Page       3     of         7
DEFENDANT:                  THOMAS LEAKS
CASE NUMBER:                4:11CR40037-43
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :             Sixty (60) months



         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court.
G The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
X      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
G The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)
G The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
        felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant’s compliance with such notification requirement.
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         Sheet 3C — Supervised Release
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DEFENDANT:              THOMAS LEAKS
CASE NUMBER:            4:11CR40037-43

                                  SPECIAL CONDITIONS OF SUPERVISION


        1.        The defendant shall submit to a search of his person, residence, place of employment and/or
                  vehicle(s) to searches which may be conducted at the request of the United States Probation
                  Officer at a reasonable time, and in a reasonable manner, based upon reasonable suspicion of
                  evidence of a violation of any conditions of release. Failure to submit to a search may be
                  grounds for revocation.
        2.        The defendant shall comply with any referral deemed appropriate by the probation officer for
                  in-patient or out-patient evaluation, treatment, counseling, or testing for substance abuse.
        3.        If the defendant does not complete his G.E.D. while incarcerated, it will be a special condition
                  of his supervision that he will enroll in an adult education program in the community and shall
                  obtain his G.E.D. prior to the expiration of his term of supervised release.
    AO 245DCase
             (Rev.4:11-cr-40037-SOH                   Document
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             Sheet 5 — Criminal Monetary Penalties
                                                                     4431
                                                                                                     Judgment — Page     5      of           7
DEFENDANT:                       THOMAS LEAKS
CASE NUMBER:                     4:11CR40037-43
                                           CRIMINAL MONETARY PENALTIES
     The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.

                     Assessment                                      Fine                                  Restitution
TOTALS       $ 100.00 **                           $                 -0-                                $ -0-
** Balance remaining from original J&C of 5/13/13.

G The determination of restitution is deferred until             . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

G The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                              Total Loss*                         Restitution Ordered                     Priority or Percentage




TOTALS                             $                                       $


G     Restitution amount ordered pursuant to plea agreement $

G     The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      G the interest requirement is waived for the       G fine         G restitution.
      G the interest requirement for the       G fine        G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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           Sheet 6 — Schedule of Payments
                                                                    4432
                                                                                                         Judgment — Page      6     of       7
DEFENDANT:                 THOMAS LEAKS
CASE NUMBER:               4:11CR40037-43

                                                   SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    X Lump sum payment of $            100.00              due immediately, balance due

          G not later than                                      , or
          X in accordance with G C,              G   D,    G    E, or      X F below); or
B    G Payment to begin immediately (may be combined with                G C,        G D, or     G F below); or
C    G Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                         (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    G Payment in equal                    (e.g., weekly, monthly, quarterly) installments of $                    over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G Payment during the term of supervised release will commence within                   (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay.
F    X Special instructions regarding the payment of criminal monetary penalties:
          If not paid immediately, any unpaid financial penalty imposed shall be paid during the period of incarceration at a rate of not less
          than $25.00 quarterly, or 10% of the defendant’s quarterly earnings, whichever is greater. After incarceration, any unpaid
          financial penalty shall become a special condition of supervised release and may be paid in monthly installments of not less than
          10% of the defendant’s net monthly household income, with the entire balance to be paid in full one month prior to the
          termination of supervised release.


Unless the court has expressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of criminal
monetary penalties is be due during the period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G Joint and Several
     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount and corresponding
     payee, if appropriate.




G The defendant shall pay the cost of prosecution.
G The defendant shall pay the following court cost(s):
G The defendant shall forfeit the defendant’s interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
AO 245B     Case
           (Rev.     4:11-cr-40037-SOH
                 12/03)                                   Document 1318
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           Sheet 7 — Denial of Federal Benefits
                                                                        4433
                                                                                                     Judgment — Page     7     of       7
DEFENDANT:                  THOMAS LEAKS
CASE NUMBER:                4:11CR40037-43
                                               DENIAL OF FEDERAL BENEFITS
                                          (For Offenses Committed On or After November 18, 1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. § 862

          IT IS ORDERED that the defendant shall be:

X ineligible for all federal benefits for a period of         Five (5) years                .

G    ineligible for the following federal benefits for a period of                                         .
     (specify benefit(s))




                                                                        OR
G    Having determined that this is the defendant’s third or subsequent conviction for distribution of controlled substances, IT IS
     ORDERED that the defendant shall be permanently ineligible for all federal benefits.

FOR DRUG POSSESSORS PURSUANT TO 21 U.S.C. § 862(b)

     IT IS ORDERED that the defendant shall:

G    be ineligible for all federal benefits for a period of                                 .

G    be ineligible for the following federal benefits for a period of                                      .

     (specify benefit(s))




     G     successfully complete a drug testing and treatment program.


           IS FURTHER ORDERED that the defendant shall complete any drug treatment program and community service specified in this
           judgment as a requirement for the reinstatement of eligibility for federal benefits.

Pursuant to 21 U.S.C. § 862(d), this denial of federal benefits does not include any retirement, welfare, Social Security, health, disability,
veterans benefit, public housing, or other similar benefit, or any other benefit for which payments or services are required for
eligibility. The clerk is responsible for sending a copy of this page and the first page of this judgment to:


                             U.S. Department of Justice, Office of Justice Programs, Washington, DC 20531
